                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


UNITED STATES OF AMERICA                       )
                                               )
v.                                             )          No. 3:10-00065
                                               )          JUDGE CAMPBELL
QUINCY MAURICE FUQUA                           )

                                           ORDER

       Pending before the Court are Defendant Fuqua’s Motion To Dismiss Counts Four And

Five Of The Indictment Or In The Alternative Bifurcate Counts For Trial (Docket No. 240), and

Motion In Limine (Docket No. 244). For the reasons stated on the record at trial on December 4,

2012, the Motion To Dismiss Or Bifurcate (Docket No. 240) is DENIED, and the Motion In

Limine (Docket No. 244) is MOOT as to items 1, 3, and 4, and is RESERVED as to item 2.

       It is so ORDERED.



                                                   _________________________________
                                                   TODD J. CAMPBELL
                                                   UNITED STATES DISTRICT JUDGE




 Case 3:10-cr-00065        Document 245      Filed 12/04/12     Page 1 of 1 PageID #: 827
